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 Attorney for Defendant
 LOUIS M. KEALOHA

                    IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAII

  UNITED STATES OF AMERICA,            CR NO. 17-00582-JMS

       Plaintiff,                      DEFENDANTS KATHERINE P.
                                       KEALOHA’S AND LOUIS M.
        vs.                            KEALOHA’S EXHIBIT LIST

  KATHERINE P. KEALOHA (1),
  LOUIS M. KEALOHA (2),
  DEREK WAYNE HAHN (3),
  MINH-HUNG NGUYEN (4),
  GORDON SHIRAISHI (5), and
  DANIEL SELLERS (6),

       Defendants.
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  Plf    Def.   Date
  No     No.    Offered   Mkd   Adm   Description
  1001                                Trial Testimony excerpt
  1002                                Disbursement instructions
  1003                                Central Pacific Bank Documents
  1004                                Metlife document
  1005                                Settlement statement
  1006                                HECM counseling certificate
  1007                                Amortization schedule
  1008                                Check dated 06/01/04
  1009                                Check dated 07/21/04
  1010                                Check dated 12/10/04
  1011                                Check dated 06/05/12
  1012                                Check dated 04/01/09
  1013                                Check dated 05/14/09
  1014                                Check dated 09/16/10
  1015                                Check dated 08/18/10
  1016                                Check dated 09/15/11
  1017                                Check dated 10/07/11
  1018                                Check dated 09/09/11
  1019                                Email chain
  1020                                Special Verdict form
  1021                                Photograph
  1022                                Affidavit
  1023                                05/22/10 HPD incident report #14-188486 re unknown
                                      party scratching John Hinazumi’s vehicle
  1024                                02/23/09 – HPD incident report #09-069382 –
                                      attempted burglary at Kealoha residence – shattered
                                      front door glass
  1025                                06/24/11 -HPD incident report #11-226328 – Misc
                                      Pub re Eric Kramer/Gerard Puana argument over
                                      parking
  1026                                06/27/11 – HPD incident report #11-230568 re Gerard
                                      Puana UED – Kramer residence
  1027                                03/29/12 – HPD incident report #12-123874 re
                                      burglary 2nd – Bobby Nguyen report that someone
                                      entered Kealoha garage & disabled surveillance
  1028                                03/29/12 – HPD incident report #12-123875 re
                                      attempted burglary
  1029                                04/17/12 – HPD incident report #12-140843 MISC
                                      PUB re female reporting man yelling and swearing in
                                      front of her
  1030                                04/17/12 – HPD incident report #12-150896 MISC
                                      PUB re Kat Kealoha relating an unknown male stood
                                      outside her residence and shouted vulgar
  1031                                04/18/12 – HPD incident report #12-141647 MISC
                                      PUB re female reporting unknown man yelling and

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  Plf    Def.   Date
  No     No.    Offered   Mkd   Adm   Description
                                      screaming about his
  1032                                04/18/12 – HPD incident report #12-141648 MISC
                                      PUB re female reporting unknown person yelling
                                      about constitutional
  1033                                06/22/13 – HPD incident report #13-226943 Theft 2 re
                                      unknown suspect stealing mailbox from Kealoha
                                      residence
  1034                                06/22/13 – HPD 443 Card re mailbox theft
  1035                                06/23/13 – HPD incident report #13-233141 Burg. 2nd
                                      re Kat Kealoha reporting unknown person entered her
                                      garage and damaged a vehicle
  1036                                06/27/13 – HPD incident report #13-233821 and
                                      MISC PUB re Gerard Puana reporting two trucks were
                                      following him at various places/times
  1037                                06/27/13 – HPD incident report #13-233824 and
                                      MISC PUB re Gerard Puana reporting two trucks were
                                      following him at various places/times
  1038                                06/27/11 - HPD Report No. 11-230568 Prepared by
                                      HPD Officer Kyle C. Chu
  1039                                06/27/11 – HPD Report No. 11-230568 Prepared by
                                      HPD Officer William Ellis
  1040                                06/27/11 – HPD Report No. 11-230568 Prepared by
                                      HPD Officer Chad Gibo
  1041                                01/28/09 Purchase Contract for Greenwood Condo –
                                      1128 Ala Napunani Street, #1803, Honolulu, HI
  1042                                06/30/13 – Colored photos of Gerard Puana taken by
                                      US Marshal
  1043                                07/08/13 – MOI of Shaughnessy interview of Destenie
                                      Turner w/photo lineup of Gerard Puana
  1044                                06/10/16 FBI 302 by SA Caryn Ackerman re emails
                                      sent by Lynn Kawano
  1045                                Undated Letter from Danny Santiago to Michael
                                      Wheat w/screen shots from Lynn Kawano texts
  1046                                10/30/15 Lawn and Order Bill to Chief Louis Kealoha
  1047                                State of Hawaii Department of Commerce and
                                      Consumer Affairs Registration for Lawn and Order,
                                      LLC
  1048                                11/09/12 – Check written by Jaunette DeMello Quiroz
                                      to Cash in the amount of $1,385
  1049                                12/17/14 & 12/18/14 – Emails between Kat Kealoha
                                      and Brian
  1050                                06/29/13 – HPD arrest report of Gerard Puana
  1051                                09/19/13 – Motion to Correct Illegal Sentence –
                                      Gerard Puana UED
  1052                                06/28/11 – Petition for Ex Parte Temporary
                                      Restraining Order filed by Julie Honey Dean Kramer
                                      against Gerard Puana
  1053                                06/24/11 – HPD incident report #11-226064 MISC

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  Plf    Def.   Date
  No     No.    Offered   Mkd   Adm   Description
                                      PUB re Gerard Puana insisting on speaking to Chief
                                      Kealoha
  1054                                12/30/15 FBI 302 re 07.23.15 investigation of Gerard
                                      Puana [re coffee cup incident & mailbox turning 180
                                      degrees]
  1055                                06/27/11 - Video of Gerard Puana throwing coffee cup
                                      incident – Black Ford Explorer - .avi
  1056                                03/13/12 – Judgment of Conviction and Probation
                                      Sentence – CR 11-1-0895
  1057                                03/13/12 – Minutes re Gerard Puana Deferred
                                      Acceptance of No Contest Plea
  1058                                03/13/12 – Continuation of Clerk’s minutes re Gerard
                                      Puana sentenced to serve 47 days
  1059                                03/13/12 – Continuation of Clerk’s Minutes from
                                      Phase A
  1060                                Sand Island Documents
  1061                                07/02/13 – USDC Arrest warrant for Gerard Puana
  1062                                Phone records for XXX.XXX4984 from 01.03.13
                                      through 04.2015
  1063                                HI DMV Motor Vehicle Registration for Gerard
                                      Puana, Plate: NYG349
                                      Make: Pontiac; Type: 4DSD: Yr: 2005
  1064                                06/30/13 – HPD interview of G. Puana [by D. Akagi]
                                      w/Brian Shaughnessy present 06-30 Interview Gerard
                                      Puana HPD-Serial 31
  1065                                Hoohiki Docket List in State v. G. Puana - 1PC11-1-
                                      000895
  1066                                07/05/11 - Warrant of Arrest for G. Puana in State v.
                                      G. Puana, 1PC11-1-000895
  1067                                06/29/11 – Arrest report for G. Puana re HPD Report
                                      No. 11-230568
  1068                                06/29/11 - Order Pertaining to Bail in State v. G.
                                      Puana, 1PC11-1-000895
  1069                                12/12/11 G. Puana’s No Contest Plea and Motion to
                                      Defer in State v. G. Puana, 1PC11-1-000895
  1070                                03/12/13 - Judgment of Conviction and Probation
                                      Sentence - State v. G. Puana, 1PC11-1-000895
  1071                                03/12/13 Terms and Conditions of Probations in State
                                      v. G. Puana, 1PC11-1-
  1072                                03/28/12 - Waiver of Extradition in State v. G. Puana,
                                      1PC11-1-000895
  1073                                05/10/12 - G. Puana’s Motion for Reconsideration of
                                      Sentence in State v. G. Puana, 1PC11-1-000895
                                      05/10/12 - Declaration of Counsel in Support of G.
  1074                                Puana’s Motion for Reconsideration of Sentence in
                                      State v. G. Puana, 1PC11-1-000895
  1075                                06/12/12 - Order Granting Motion for DANC and
                                      Conditions of Probation in State v. G. Puana, 1PC11-

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  Plf    Def.   Date
  No     No.    Offered   Mkd   Adm   Description
                                      1-000895
  1076                                06/14/13 - Waiver of Extradition in State v. G. Puana,
                                      1PC11-1-000895
  1077                                09/19/13 - State’s Motion to Correct Illegal Sentence
                                      in State v. G. Puana, 1PC11-1-000895
  1078                                08/23/13 - Ex. A (Court Calender View of
                                      1P1020001475) to State’s Motion to Correct Illegal
                                      Sentence in State v. G. Puana, 1PC11-1-000895
  1079                                08/23/13 - Ex. B (Court Calender View of
                                      1P1020001476) to State’s Motion to Correct Illegal
                                      Sentence in State v. G. Puana, 1PC11-1-000895
  1080                                08/23/13 - Ex. C (Court Calender View of
                                      1P1020001972) to State’s Motion to Correct Illegal
                                      Sentence in State v. G. Puana, 1PC11-1-000895
  1081                                12/12/11 - Ex. D (G. Puana COP and Motion to Defer)
                                      to State’s Motion to Correct Illegal Sentence in State
                                      v. G. Puana, 1PC11-1-000895
  1082                                03/13/12 - Ex. E (Judgment of Conviction) to State’s
                                      Motion to Correct Illegal Sentence in State v. G.
                                      Puana, 1PC11-1-000895
  1083                                03/13/12 - Ex. E (Terms and Conditions of Probation)
                                      to State’s Motion to Correct Illegal Sentence in State
                                      v. G. Puana, 1PC11-1-000895
  1084                                05/10/12 - Ex. F (G. Puana’s Motion for
                                      Reconsideration of Sentence) to State’s Motion to
                                      Correct Illegal Sentence in State v. G. Puana, 1PC11-
                                      1-000895
  1085                                05/10/12 - Ex. F (Decl. of Counsel to G. Puana’s
                                      Motion for Reconsideration of Sentence) to State’s
                                      Motion to Correct Illegal Sentence in State v. G.
                                      Puana, 1PC11-1-000895
  1086                                06/15/12 - Ex. G (Order Granting DANC) to State’s
                                      Motion to Correct Illegal Sentence in State v. G.
                                      Puana, 1PC11-1-000895
  1087                                11/14/13 - G. Puana’s Opposition to State’s Motion to
                                      Correct Illegal Sentence
  1088                                11/25/13 - Order Denying State’s Motion to Correct
                                      Illegal Sentence
  1089                                08/26/11 – Letter from Sand Island Treatment Center
                                      to Judge Wilson re: G. Puana
  1090                                02/13/17 - G. Puana’s calendars and bank records
                                      referred to at his 9/22/16 FBI interview re: 2007-2013
                                      events with K. Kealoha
  1091                                06/21/13 – Photo of mailbox
  1092                                06/21/13 - Various still video shots of street and
                                      Kealoha residence and white car
  1093                                06/29/13 - Document Entitled “Defendant’s Exhibit
                                      “P” (First Circuit Judicial Determination of Probable

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  Plf    Def.   Date
  No     No.    Offered   Mkd   Adm   Description
                                      Cause-G. Puana, HPD No. 13-226943 and Affidavit in
                                      Support of Warrantless Arrest-NaleiSooto)
  1094                                07/08/13 - Document Entitled “Defendant’s Exhibit
                                      “Z” (7/8/13 Letter from USPS Inspector Brian
                                      Shaughnessy to Les Osborne Re: Case No. 1984950-
                                      MT, Honolulu, HI: Violation of Title 18, USC Section
                                      1705, Destruction of Letter Boxes or Mail; by
                                      GERARD K. PUANA)
  1095                                06/29/13 - Document Entitled “Defendant’s Exhibit
                                      “BB” (First Circuit Judicial Determination of Probable
                                      Cause-G. Puana, HPD No. 13-226943 and Affidavit in
                                      Support of Warrantless Arrest-NaleiSooto
  1096                                06/29/13 - Document Entitled “Defendant’s Exhibit
                                      “CC” (HPD Arrest Report-Gerard Puana in HPD
                                      Report No. 13-226943)
  1097                                01/26/10 - Document Entitled “Defendant’s Exhibit
                                      “EE” (1/26/10 Email from K. Kealoha to G. Puana Re:
                                      Greenwood and payments to K. Kealoha’s acct
                                      XXXX-XX1502)
  1098                                07/08/13 - Document Entitled “Defendant’s Exhibit
                                      BBB” (USPS Memorandum of Interview (prepared by
                                      Brian Shaughnessy) re: interview of BOH
                                      representative Destenie Turner who confirmed G.
                                      Puana on 1/23/13 improperly attempted to access F.
                                      Puana and K. Kealoha’s bank statements)
  1099                                12/18/09 - Document entitled “Exhibit 4” (12/18/09
                                      Email from G. Puana to K. Kealoha reverse mortgage
                                      “secret”)
  1100                                Undated - Document entitled “Exhibit 6” (U.S.
                                      Marshals Service photos of face shot of G. Puana and
                                      hand tattoo MP with skull, G. K. Puana FID
                                      XXX2607)
  1101                                12/02/14 - Defendant’s Second Amended Exhibit List
                                      in U.S. v. G. Puana, Cr. No. 13-00735 LEK
  1102                                09/30/14 - Deposition Transcript of G. Puana in F.
                                      Puana v. K. Kealoha, Civil No. 13-1-0686-03 VLC
  1103                                07/08/13 - 7/8/13 USPS Report Case No. 1984950 re:
                                      G. Puana (prepared by Brian Shaughnessy) to AUSA
                                      L. Osborne, Exs. 1-7
  1104                                12/03/14 - Federal Court Notice to AUSA L. Osborne
                                      Re: Records Produced by ASB on 11/29/14 pursuant
                                      to Grand Jury Subpoena, Records are mainly bank
                                      statements from G. Puana Account No. XX-XXXXXXX,
                                      from the period 12/8/09 to 1/8/14
  1105                                11/14/14 - Depo Transcript of “Kay” Florence K.
                                      Hartsell in F. Puana et al v. K. Kealoha, Civ. No. 13-1-
                                      0686-03
  1106                                11/14/14 - Depo Transcript of Ricky L. Hartsell in F.

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  Plf    Def.   Date
  No     No.    Offered   Mkd   Adm   Description
                                      Puana et al v. K. Kealoha, Civ. No. 13-1-0686-03
  1107                                11/14/14 - Depo Transcript of Carolyn DeMello in F.
                                      Puana et al v. K. Kealoha, Civ. No. 13-1-0686-03
  1108                                11/19/14 - Cont’d Depo Transcript of Carolyn
                                      DeMello in F. Puana et al v. K. Kealoha, Civ. No. 13-
                                      1-0686-03
  1109                                2013-2014 - Documents from F. Puana et al v. K.
                                      Kealoha, Civ. No. 13-1-0686-03 (Discovery, Court
                                      Submissions, etc.)
  1110                                06/29/13 - Exhibit “2” in Civil No. 13-1-0685-03, K.
                                      Kealoha Depo (Photo of BOH Check Card of Gerard
                                      Puana, XXXX XXXX XXXX 9579)
  1111                                06/29/13 - Exhibit “9” in Civil No. 13-1-0685-03, K.
                                      Kealoha Depo (Island Title Corp. Final Statement
                                      dated 10/6/09 Re: Borrower-The John Puana and
                                      Florence Puana Trusts, Lender-MetLife Home Loans
                                      REVERSE MORTAGE for $513, 474.20)
  1112                                06/29/13 - Exhibit “15” in Civil No. 13-1-0685-03, K.
                                      Kealoha Depo (9/19/13 Final Settlement Statement
                                      (HUD-1) re: Sale of 3934 Nioi Place, Honolulu, Hi
                                      96816, Seller: John Puana Trust /Florence Puana Trust
  1113                                06/29/13 - Exhibit “16” in Civil No. 13-1-0685-03, K.
                                      Kealoha Depo (10/05/09 Apartment Deed (in Trust)
                                      from Reynold and Una Lee to K. Kealoha, Trustee of
                                      Gerard K. Puana Revocable Trust, re: 1128 Ala
                                      Napunani St., #1803 or “Greenwood”)
  1114                                07/11/13 - Grand Jury Testimony of Brian
                                      Shaughnessy in the matter of USDC GRAND JURY
                                      INVESTIGATION No. 13-I-78
  1115                                06/00/13 - Documents re: Dru Akagi and HPD No. 13-
                                      226943 (June 2013) (PORTIONS REDACTED)
  1116                                07/14/14 - 7/14/14 Supplemental Report Covering
                                      Alleged Destruction of Mailbox Re; G. Puana from
                                      Brian Shaughnessy to L. Osborne with Exhibits
  1117                                12/00/03 thru 12/00/13 - G. Puana’s Calendars from
                                      12/03 to 12/13
  1118                                Undated - Memo from G. Kurashima re: various
                                      document provided and notes re: civil case
  1119                                10/05/09 - 10/5/09 Apartment Deed (To Trust) from
                                      Reynold Lee and Una Lee to Katherine Kealoha,
                                      Trustee for the G K. Puana Revocable Trust, re: 1128
                                      Ala Napunani St., #1803, Honolulu, Hi 96818
  1120                                01/28/09 Purchase Contract, 1128 Ala Napunani St.,
                                      #1803, Honolulu, HI 96818, respectively
  1121                                12/01/12 thru 07/31/13 - HSFCU Statements for F.
                                      Puana and G. Puana account (Acct No. XXXX0340)
                                      from 12/01/12-7/31/13, Deposit and Cancelled Checks
  1122                                12/01/12 thru 06.30/15 - HSFCU Statements for G.

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  Plf    Def.   Date
  No     No.    Offered   Mkd   Adm   Description
                                      Puana account (Acct No. XXXX0660) from 12/01/12-
                                      6/30/15, Deposit and Cancelled Checks
  1123                                07/30/15 - Email from HSFCU compliance manager
                                      William Akamine to Laurice Otsuka, FBI, re:
                                      RECEIPTS FOR PUANA ACCOUNT NOs
                                      XXXX0660 and XXXX0340
  1124                                01/07/13 thru 07/16/13 - HSFCU Receipts for Account
                                      No. XXXX0340, shows “GERARD K. PUANA”
                                      signatures
  1125                                10/31/12 thru 12/02/14 - HSFCU Receipts for Account
                                      No. XXXX0660 shows “GERARD K. PUANA”
                                      signatures
  1126                                07/17/15 - Certificate of Authenticity of ASB Business
                                      Records Signed by Renette Cabatic, ASB Legal Docs
                                      Assistant, pursuant to Grand Jury Subpoena
  1127                                07/16/15 - Letter from ASB Legal Docs Assistant
                                      Renette Cabatic to FBI Agent Jeff Felmann re:
                                      Additional Records for K. Kealoha and G. Puana
  1128                                12/08/08 thru 06/08/15 - ASB Bank Statements for
                                      Acct No. 00905-32439 (Gerard K. Puana) from
                                      12/8/08 tp 6/8/15, deposits and cancel ed checks
  1129                                01/03/11 thru 06/30/15 - ASB Deposit, Debits, and
                                      Cancelled Checks for ASB Account No. XXXXX-
                                      X2439 (Gerard K. Puana) from 1/3/11 to 6/30/15
  1130                                12/04/14 - Transcript of Jury Trial in USA v. G.
                                      Puana, Cr No. 13-00375 LEK, Testimony of Niall
                                      Silva and Louis Kealoha
  1131                                07/02/13 - 7/2/13 CID Closing Report prepared by
                                      HPD Det. Dru Akagi in HPD Report No. 13-226943
                                      (Theft 2) Complainant: K. Kealoha, 1018 Kealaolu
                                      Ave
  1132                                01/23/15 – Trial Testimony of Gerard Puana – 13-1-
                                      0686
  1133                                01/27/15 – Trial Testimony of Gerard Puana -13-1-
                                      0686
  1134                                01/28/15 - Trial Testimony of Gerard Puana - 13-1-
                                      0686
  1135                                01/29/15 - Trial Testimony of Gerard Puana - 13-1-
                                      0686
  1136                                01/30/15 - Trial Testimony of Gerard Puana - 13-1-
                                      0686
  1137                                01/22/15 Trial Testimony Shari Motooka-Higa- 13-1-
                                      0686
  1138                                01/22/15 and 01/23/15 Trial Testimony Carolyn
                                      Demello- 13-1-0686
  1139                                02/04/15 - Trial Testimony Destenie Turner- 13-1-
                                      0686
  1140                                02/04/15 - Trial Testimony Lealani Puana- 13-1-0686

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  Plf    Def.   Date
  No     No.    Offered   Mkd   Adm   Description
  1141                                02/04/15 - Trial Testimony Rudolph Puana- 13-1-0686
  1142                                Gerard Puana' s American Savings Bank Monthly
                                      Statements and Checks to Gerard Puana, from
                                      January 2003 to December 2009 – P-1
  1143                                Bank of Hawaii ."Arbonne" Account No.
                                      XXX2522, Monthly Bank Statements, September
                                      2007 to December 2009 – P-2
  1144                                Gerard Puana American Savings Bank Acct. No.
                                      XXX2439 Monthly Statements & Check Deposited
                                      to Kealoha, BOH Joint Account No. XXX1502 – P-4
  1145                                Greenwood Apt. 1803 Purchase Contract, dated
                                      January 28, 2009 – P-10
  1146                                Greenwood Apt. 1803 Counter Offer, dated February
                                      3, 2009 – P-11
  1147                                Greenwood Apt. 1803, Addendum, signed by
                                      Kealoha, March 26, 2009 - P-12
  1148                                Greenwood Apt. 1803, Addendum, signed by
                                      Kealoha, April 15, 2009 - P-13
  1149                                Greenwood Apt. 1803, Addendum, signed by
                                      Kealoha, April 26, 2009 P-14
  1150                                Greenwood Apt. 1803, Addendum, signed by
                                      Kealoha, June 30, 2009 - P-15
  1151                                Greenwood Apt. 1803, Addendum, signed by
                                      Kealoha, July 14, 2009 - P-16
  1152                                Greenwood Apt. 1803, Addendum, signed by
                                      Kealoha, August 17, 2009 - P-17
  1153                                Greenwood Apt. 1803 Addendum, initialed
                                      September 8, 2009 - P-18
  1154                                Greenwood Apt. 1803, Addendum, signed by
                                      Kealoha September 9, 2009 - P-19
  1155                                Greenwood Apt. 1803, Buyer's Estimated Settlement
                                      Statement, printed Oct. 22, 2009 - P-20
  1156                                Greenwood Apt. 1803 Buyer's Final
                                      Settlement Statement, dated Oct 14, 2009 - P-21
  1157                                Greenwood Buyer/Borrower's Vesting Instruction,
                                      dated May 1, 2009 - P-22
  1158                                Kealoha's Greenwood Apt. 1803 Deposit Check $1,000,
                                      dated January 28, 2009 - P-23
  1159                                Kealoha's Greenwood Apt. 1803 Deposit Check $4,000;
                                      dated January 28, 2009 - P-24
  1160                                Kealoha's Greenwood Apt. 1803 "Rental Check $3,600,
                                      dated March 17, 2009 - P-25
  1161                                Kealoha's Greenwood Apt. 1803 "Rental" Check
                                      $1,800, dated April 6, 2009 - P-26
  1162                                Kealoha's Greenwood Apt. 1803 "Rental” Check
                                      $1,800, dated May 13, 2009 - P-27
  1163                                Kealoha's Greenwood Apt. 1803 "Rental” Check
                                      $1,800, dated June 3, 2009 - P-28

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   Plf    Def.   Date
   No     No.    Offered   Mkd   Adm   Description
   1164                                Kealoha' s Greenwood Apt. .1803 "Rental" Check
                                       $1,800, dated July 10, 2009 - P-29
   1165                                Sears Receipt, dated December 3, 2009 – P-30
   1166                                Homeworld Receipt, dated December 3, 2009 – P-31
   1167                                Discount Furniture Warehouse, dated July 16, 2010 – P-
                                       32
   1168                                Apartment Deed (To Trust) Apt. 1803 – P-33
   1169                                Plaintiffs Florence Puana and Gerard Puana Complaint,
                                       filed March 7, 2013 – P-34
   1170                                Defendant Katherine Kealoha First AmendedAnswer to
                                       Complaint and First Amended Counterclaim; filed
                                       August 20, 2014 – P-35
   1171                                Gerard Puana's ASB, Safe Deposit Lease Agreement,
                                       Box No. XXX0434, dated September 8, 2006 – P-37
   1172                                Gerard Puana's American Savings Bank, Safe Deposit
                                       Box No. XXX0434, Log of Access to Safe Deposit Box
                                       – P-38
   1173                                DCCA Arbonne International Trade Name – P-40
   1174                                Sole Proprietorship Signature Card, Bank of Hawaii,
                                       Acct. No.XXX2522, Katherine Puana Kealoha dba
                                       Arbonne International, dated September 11, 2007 - P-41
   1175                                Bank of Hawaii Arbonne Account No. XXX2522
                                       Check Card for Gerard Puana - P-42 ,
   1176                                2004 – Gerard Puana Calendar – P-88
   1177                                2005 – Gerard Puana Calendar – P-89
   1178                                2006 – Gerard Puana Calendar – P-90
   1179                                2007 – Gerard Puana Calendar – P-91
   1180                                2008 – Gerard Puana Calendar – P-92
   1181                                2009 – Gerard Puana Calendar – P-93
   1182                                2010 – Gerard Puana Calendar – P-94
   1183                                2011 – Gerard Puana Calendar – P-95
   1184                                2011 – Gerard Puana Amended 2011 Calendar – P-95A
   1185                                2012 – Gerard Puana Calendar – P-96
   1186                                1128 Ala Napunani Purchase Contract (Exhibit A to
                                       Gerard Puana Deposition) – D-1
   1187                                ler's Real Property Disclosure Statement
                                       (Exhibit C to Gerard Puana Deposition) – D-3
   1188                                Document Receipt and Approval
                                       ( Exhibit D to Gerard Puana Deposition) – D-4
   1189                                Agmnt to Occupy Prior to Close of Escrow.
                                       (Exhibit E to Gerard Puana Deposition) – D-5
   1190                                Email dated June 22, 2011
                                       (Exhibit F to Gerard Puana Deposition) – D-6
   1191                                Gerard Puana's Answers To Interrogatories
                                       (Exhibit G to Gerard Puana Deposition) – D-7
   1192                                Various months of appointment calendar
                                       (Exhibit H to Gerard Puana Deposition) -D-8


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   Plf    Def.   Date
   No     No.    Offered   Mkd   Adm   Description
   1193                                Check No. 1439
                                       (Exhibit I to Gerard Puana Deposition) – D-9
   1194                                Check No. 1514
                                       (Exhibit J to Gerard Puana Deposition) – D-10
   1195                                Check No. 1591
                                       (Exhibit K to Gerard Puana Deposition) – D-11
   1196                                Check No. 1269
                                       (Exhibit L to Gerard Puana Deposition) – D-12
   1197                                Check No. 1070
                                       (Exhibit M to Gerard Puana Deposition) – D-13
   1198                                Check No. 1073
                                       (Exhibit N to Gerard Puana Deposition) – D-14
   1199                                Check No. 1084
                                       (Exhibit O to Gerard Puana Deposition) – D-15
   1200                                Check No. 1106
                                       (Exhibit P to Gerard Puana Deposition) – D-16
   1201                                Check Nos. 2119 and 2120
                                       (Exhibit Q to Gerard Puana Deposition) – D-17
   1202                                Check Nos. 2199 and 2200
                                       (Exhibit R to Gerard Puana Deposition) – D-18
   1203                                Check Nos. 2265 and 2267
                                       (Exhibit S to Gerard Puana Deposition) - D-19
   1204                                Check Nos. 2271 and 22 72
                                       (Exhibit T to Gerard Puana Deposition) – D-20
   1205                                Check Nos. 2307 and 2308
                                       (Exhibit U to Gerard Puana Deposition) - D-21
   1206                                Letter dated April 4, 2012 from Kealoha to
                                       Tabacco
                                       (Exhibit W to Gerard Puana 0eoosition) – D-23
   1207                                Bank of Hawaii Cashier's Check
                                       (Exhibit Y to Gerard Puana Deposition) – D-25
   1208                                Discount Furniture Warehouse Receipt
                                       (Exhibit Z to Gerard Puana Deposition) – D-26
   1209                                2009-2010 Real Property Tax Bill
                                       (Exhibit M to Gerard Puana Deposition) – D-27
   1210                                Emails between Gerard and Kealoha
                                       (Exhibit BB to Gerard Puana Deposition) – D-28
   1211                                Email dated Dec. 18, 2009 from Gerard to
                                       Kathy (Exh. EE to Gerard Puana Deposition) – D-31
   1212                                Homeworld receipt dated December 03,
                                       2009 (Exh. FF to Gerard Puana Deposition) – D-32
   1213                                Sears Installed Merchandise Agreement
                                       (Exhibit GG to Gerard Puana Deposition) – D-33
   1214                                Excerpts of records from ASB re safe box – D101
   1215                                Records from ASB re Safebox – D-102
   1216                                HFCU Records re Florence – D-103
   1217                                ASB Records Volumes 1 & 2 – D-104
   1218                                ASB Records re Account No. 00905 – D-105

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   Plf    Def.   Date
   No     No.    Offered   Mkd   Adm   Description
   1219                                January 25, 2011 - Shell Oil gas card for
                                       Gerard – D-112
   1220                                2011 - Email Gerard Puana – D-114
   1221                                Gerard Calendars Produced November 21, 2014 – D-
                                       115
   1222                                June 3, 2009 - First American Title Payment – D-118
   1223                                KK Escrow Check – D-119
   1224                                Gerard Answers To Interrogatories – D-137
   1225                                Missing portions of P-1 and P-4 extracted
                                       from D-105 – D-281
   1226                                Small envelope – D-282
   1227                                Larger envelope – D-283
   1228                                Photo of Mailbox
   1229                                Copy of photo of mailbox pedestal
   1230                                Undated - Copy of colored photo of mailbox after
                                       remodel was completed
   1231                                Photograph of possible suspect Stephen Capone – 2013
   1232                                Photograph of Mailbox Pedestal 1018 Kealaolu Avenue
                                       Taken – Measurement of mailbox pedestal 05.11.19
   1233                                Photograph of Mailbox Pedestal 1018 Kealaolu Avenue
                                       Taken – Closeup Measurement of mailbox pedestal (26
                                       inches) 05.11.19
   1234                                Photograph of Mailbox Pedestal 1018 Kealaolu Avenue
                                       Taken – Base of mailbox pedestal 05.11.19
   1235                                Photograph of Mailbox Pedestal 1018 Kealaolu Avenue
                                       Taken – Topf of mailbox pedestal 05.11.19
   1236                                Photograph of Mailbox Pedestal 1018 Kealaolu Avenue
                                       Taken – Measurement of middle of mailbox pedestal
                                       (14.5 inches) 05.11.19
   1237                                Destenie Turner emails to Robert Marks dated 9-
                                       16-14, including EIR for Katherine Puana Kealoha
                                       on 1-15-13
   1238                                Gerard K. Puana List of Items for Sand Island
                                       Treatment Center 7.13
   1239                                Amazon.com search for Solar Group Inc. Cast
                                       Aluminum Pedestal Mailbox, 12.26.14
   1240                                Video of Gerard K. Puana – 6/27/11 (need sheet ID
                                       CD as submitted with original exhibits) - coffee
                                       cup video
   1241                                Video of Mailbox Theft Video – Short Version
                                       6/21/13 (need sheet ID CD as submitted with
                                       original exhibits)
   1242                                Satellite Map of 3934 Nioi Place 5.19
   1243                                Terrain Map of 3934 Nioi Place 5.19
   1244                                Photograph of 3934 Nioi Place – Front View –
                                       5.19

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   Plf    Def.   Date
   No     No.    Offered   Mkd   Adm   Description
   1245                                Photograph of 3934 Nioi Place – Front Right Side
                                       View – 5.19
   1246                                Photograph of 3934 Nioi Place – Front Left Side
                                       View – 5.19
   1247                                Photograph of 3934 Nioi Place – Rear Left Side
                                       View –5.19
   1248                                Photograph of 3934 Nioi Place – Rear Right View
                                       – 5.19
   1249                                1128 Napunani Street, #1803, Honolulu HI –
                                       current tax assessment (certified copy)
   1250                                1128 Napunani Street, #1803, Honolulu HI –
                                       apartment deed recorded 10/14/09 in the name of
                                       Gerard K. Puana Trust (certified copy)
   1251                                1128 Napunani Street, #1803, Honolulu HI –
                                       substitution of trustee recorded 1/13/15 (certified
                                       copy)
   1252                                Email #1 from Gerard Puana to Katherine Kealoha
                                       with photograph 6.22.11
   1253                                Email #2 from Gerard Puana to Katherine Kealoha with
                                       photograph 6.22.11
   1254                                HPD Officer Michael Garcia Appraisal Report dated
                                       6.30.13
   1255                                HPD Officer Michael Garcia Correspondence with
                                       Letha Decaires, Ethics Commission, 1.27.15 to 2.12.15
   1256                                FBI 302 by Caryn Ackerman and Jeffrey Felmann -
                                       HPD Officer Michael Garcia interview, 12.8.15
   1257                                Indictment – United States v. Gerard Puana, CR No. 13-
                                       00735, 7.11.13
   1258                                FBI 302 by Jeffrey Felmann – Interview of Jeffrey
                                       Fryer 10.14.15
   1259                                FBI 302 by Jeffrey Felmann and Caryn Ackerman –
                                       Interview of Jeffrey Fryer 10.15.15
   1260                                FBI 302 by Jeffrey Felmann – Additional Information
                                       received from Jeffrey Fryer 10.13.15




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       DATED: Kaneohe, Hawaii, May 13, 2019.


                              Respectfully submitted,



                                       /s/ Cynthia A. Kagiwada
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